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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: MELINDA J WILLIAMS

                                                               Case No.: 18-60983-can-13

                             Debtor


                     CHAPTER 13 TRUSTEE'S CERTIFICATION
               CONCERNING INITIAL CONFIRMATION OF DEBTOR'S PLAN

    COMES NOW Richard V. Fink, Chapter 13 Trustee, and for his certification states as follows: He is
the Standing Chapter 13 Trustee and has reviewed debtor's schedules and plan, and has conducted a
Section 341(a) meeting of creditors. Based on the information currently available, the proposed plan
appears to be feasible, submitted in good faith and not for any reason prohibited by law, and complies
with applicable provisions of Chapter 13 of Title 11 of the United States Code. The trustee is not aware
of any objection to or rejection of the plan that has not been resolved, withdrawn or ruled upon.

                                                    Respectfully submitted,
       November 05, 2018
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031


                                                                                   JLA   /Certification Confirmation
